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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


MARK C. SAVIGNAC and
JULIA SHEKETOFF,

   Plaintiffs,                         Case No. 1:19-cv-02443-RDM-ZMF

       v.

JONES DAY, STEPHEN J. BROGAN,
BETH HEIFETZ, and MICHAEL
SHUMAKER,

   Defendants.



            REPLY IN SUPPORT OF PLAINTIFFS’ CROSS-MOTION FOR
                       PARTIAL SUMMARY JUDGMENT
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       Contrary to Jones Day’s opposition ( “Opp.”), Plaintiffs are entitled to summary judgment

on Counts I-III, VII-IX, and XI as set forth in their cross-motion ( “PMSJ”).

I.     Jones Day’s leave offerings for new parents are unlawful (Counts I-III).

       A.      Jones Day gives every mother an extra eight weeks of sex-based leave.

       Jones Day’s policy is, in the Court’s phrase, a “ratchet [that] turns only one way. All birth

mothers receive at least eight weeks, and they are entitled to more if” they submit medical evidence

that justifies more. Savignac v. Jones Day, 486 F. Supp. 3d 14, 36 (D.D.C. 2020). Jones Day

insists that Plaintiffs have “no evidence” just because they have not named a specific “mother who

took disability leave despite not being disabled.”       Opp. 11.    Actually, Plaintiffs presented

overwhelming evidence—most of which Jones Day does not even try to respond to. PMSJ 1-5.

Indeed, the firm’s 30(b)(6) witness—who has overseen the policy for decades—declined to

endorse its false claim that the policy limits a mother’s leave to her period of actual disability.

JDSF ¶ 115 (Plaintiffs’ response). And the firm admits that its “summary documents and

promotional materials” (not to mention its written family leave policy) explicitly tell women that

they can all take eight weeks. Opp. 12. Jones Day continues to rely solely on an inapposite

declaration from its HR Director and a creative misreading of its written STD policy. Id. at 11-

12. But it has no response to Plaintiffs’ point that McClure’s declaration speaks past the issue.

PMSJ 4-5. And it does not dispute that the Court already held that the written policy is ambiguous

and must be read in light of the evidence (486 F. Supp. 3d at 36), which confirms the one-way

ratchet view. Nor does it ask the Court to reconsider that ruling. Finally, its cited ERISA case is

obviously irrelevant to this Title VII suit—and not just because the written STD policy it hangs its

hat on is not the “actual benefit plan” and also explicitly states that it “is not subject to ERISA.”

McClure Ex. 1 at JD_00002483; PSF ¶¶ 46, 51.
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        B.      Jones Day’s policy is illegal sex discrimination for three independent reasons.

                1.      Leave for new mothers must be limited to the period of actual disability.

        The employment discrimination laws prohibit “pregnancy disability benefits” or other

“special treatment of pregnant workers based on … generalizations about their needs and abilities.”

California Federal Savignac & Loan Ass’n v. Guerra, 479 U.S. 272, 285 & n.17 (1987); see PMSJ

5-10. The only case to rule on a challenge to a policy that, like Jones Day’s, gives all mothers a

fixed period of extra leave not offered to fathers thus applied Guerra to “hold as a matter of law”

that the policy “contravenes Title VII … for any leave granted beyond the period of actual physical

disability.” Schafer v. Board of Public Education, 903 F.2d 243, 248 (3d Cir. 1990). Beyond that

period, the only differences between a mother and a father are sex and proxies for sex (e.g., having

given birth in the past), which are unlawful grounds for discrimination. Jones Day responds with

(a) deficient legal arguments (Opp. 9-10) and (b) strawman policy arguments (id. at 7-8).

        a.      Picking a test out of thin air, Jones Day says that it can rely on a generalization “so

long as the assumption is reasonably intended as a disability benefit and rests on legitimate, sex-

neutral factors.” Opp. 8. It has no authority for its standard, and Plaintiffs’ citations refute it. The

firm adds that it is “generalizing about disability, not sex.” Id. That was precisely the view of

Title VII—treatment of mothers is based on physical condition rather than sex—that the Supreme

Court relied on in Gilbert and that Congress overruled with the PDA. PMSJ 8 n.5. Anyway,

Guerra and Schafer explicitly prohibit benefits for new mothers based on generalizations about

their abilities and disabilities. See 479 U.S. at 285 & n.17; 903 F.2d at 248.

        Guerra. Jones Day responds that Guerra recognized no limits on preferential treatment

of mothers, insisting that its statement that Title VII prohibits “special treatment of pregnant

workers based on … generalizations about their needs and abilities” refers only to negative

treatment. Opp. 9. But the Court presented the “generalizations” point as one “example” of the


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“limitations” on the notion that the PDA is “a floor beneath which pregnancy disability benefits

may not drop—not a ceiling above which they may not rise.” 479 U.S. at 285 & n.17; see also id.

at 294 n.3 (Stevens, J., concurring); Schafer, 903 F.2d at 248 (“We disagree … that Guerra allows

preferential treatment to employees who have recently given birth to a child without a

simultaneous showing of a continuing disability”); PMSJ 5-6; Dkt. 18 at 17-21.1

       Johnson. Jones Day concedes that the policy in Johnson “only excused birth mothers from

submitting documentation for leaves up to six weeks”; it did not, like Jones Day’s policy, tell

mothers that they could take leave regardless of whether they were disabled. Opp. 9. But the firm

urges that Johnson’s reasoning went beyond its facts when it said that “it is not unreasonable …

to establish a period of presumptive disability” to avoid “review[ing] medical records for each and

every employee.” Id. (quoting 431 F.3d at 329). This is wordplay. It is clear in context that when

the Eighth Circuit referred to “a period of presumptive disability” it was referring to the evidentiary

presumption that the employer there made by excusing mothers from submitting medical records

in the first six weeks, not to a substantive rule like Jones Day’s that gives mothers a fixed period

of sex-based leave without regard for actual disability. See PMSJ 6-7; Dkt. 18 at 14-17. If Johnson

were addressing a fact pattern not presented there, as the firm says, then its dicta would be wrong.

       Schafer. Jones Day argues, for the first time, that the rule of Schafer is simply that leave

limited to mothers must be “related to” pregnancy or childbirth. Opp. 10. Schafer actually holds:

“We hold as a matter of law that [the policy] contravenes Title VII and is thus per se void for any


 1
    The “generalization” language is no more dicta than the “floor-not-ceiling” language that it
limits. And “courts are obligated to follow Supreme Court dicta, particularly where there is not a
substantial reason for disregarding it.” ACLU v. McCreary County, 607 F.3d 439, 447 (6th Cir.
2010); see Center for Biological Diversity v. DOI, 563 F.3d 466, 481 (D.C. Cir. 2009); Newdow
v. Bush, 391 F. Supp. 2d 95, 107 (D.D.C. 2005). Finally, Jones Day’s claim that Guerra’s use of
the phrase “narrowly drawn” incorporates the concept of “narrow tailoring” from First
Amendment commercial speech case law is implausible and irrelevant to the generalization point.


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leave granted beyond the period of actual physical disability.” 903 F.2d at 248. Jones Day insists

that this was just the “remedy” and that “the court did not say that a disability period is illegal

unless limited to the ‘period of actual physical disability.’” Opp. 10. But that is exactly what the

Third Circuit held, both in the language just quoted and when it “disagree[d] with the district

court’s holding that Guerra allows preferential treatment to employees who have recently given

birth to a child without a simultaneous showing of a continuing disability.” 903 F.2d at 248

(emphases added). The court used the term “void” to mean “contrary to law,” not to indicate that

it was imposing a remedy rather than a substantive test. In any event, it said in the same sentence

that the policy “contravenes Title VII … for any leave granted beyond the period of actual physical

disability.” And, in fact, the Third Circuit actually remanded to the district court to determine

whether the plaintiff was constructively discharged and impose an appropriate remedy, instructing:

“The Board must be liable for whatever time, up to one year, a father chooses to use for

childrearing if women are given the choice of selecting childrearing leave or maternity leave for

up to one year, without a showing of disability related to childbirth.” Id. at 250 (emphasis added).

Thus, the Third Circuit imposed a substantive rule that a policy giving leave only to mothers

violates Title VII if the leave exceeds the “period of actual physical disability,” and that the proper

remedy for a violation is to extend to fathers the full period of leave granted to mothers regardless

of disability—here, the 18 weeks that new mothers receive regardless of disability.

       b.      Jones Day pretends that Plaintiffs’ claim would prohibit it from relying on doctors’

certifications. Opp. 7; but see Chase Ex. 72 at P02271 (asserting that Plaintiffs’ claim would

require it to rely on doctors’ notes). Wrong. Plaintiffs’ position is the one that prevailed in

Schafer: An employer cannot offer leave that is limited to mothers beyond the period of disability.

The parties agree that this is Jones Day’s rule for all circumstances other than the eight weeks




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following childbirth: “lawyers are eligible for paid disability leave only if they are actually

disabled.” Dkt. 189 at 23. And Jones Day insists that it actually does impose the same requirement

on mothers. Opp. 3, 11 (asserting that disability leave, including for new mothers, is available

“only if the associate is ‘disabled,’ i.e., ‘is unable to perform the material and substantial duties of

… her regular occupation’”). Jones Day cannot simultaneously argue that it would be impossible

for it to comply with Plaintiffs’ position and insist that it already does.2

        Plaintiffs’ position would not require an honor system or constant medical assessment. An

employer can defer to a doctor’s advice; Jones Day offers zero authority or argument for its

contrary position (which is thus forfeited). Doctor-patient relationships are not governed by Title

VII. Cf. City of Los Angeles v. Manhart, 435 U.S. 702, 717-18 & n.33 (1978). Or the employer

can use an honor system, with the worker self-assessing her readiness to work or relying on her

doctor’s advice, which could be to stay home for a specified period or to self-assess.3 Nor do

Plaintiffs seek to impose a demanding “precision” requirement, as Jones Day concedes. Opp. 11.

                2.      Even if “true” generalizations were permissible, Jones Day’s is not true.

        While Jones Day notes that doctors often make ex ante predictions (Opp. 7), its own

generalization is not a “prediction”—it is a knowingly inaccurate and overinclusive generalization

untethered to what doctors actually certify for the most common type of birth, based not on science

or medical practice but on an employer’s business preferences. PMSJ 10-12. It is undisputed that


 2
   Jones Day says that it is standard to assume a standard period of disability for, “e.g., a routine
appendectomy.” Opp. 7. Its cited evidence is only that Unum does so for some other employers.
Jones Day and Unum do not do so here—Jones Day has a special rule for mothers only.
 3
    Jones Day pretends that women cannot possibly assess when they are able to return to office
work, but its paternalism is at odds with medical practice (which generally does not tell women
they should refrain from office work at all, and recommends self-assessment even for physical
activities like exercise) (PSF ¶¶ 159-61, 186), its expert’s testimony that she has certified mothers
to return to work early and has never advised one against it (id. ¶¶ 169-70), and its own practice
of allowing mothers to return early based on self-assessment without medical clearance (id. ¶ 126).


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doctors do not certify eight weeks of disability for all births. PSF ¶ 153-54. The Court could

resolve the case on this ground without deciding whether an employer could provide six weeks of

leave to all new mothers on the theory that doctors will almost universally certify six weeks and

so such a leave policy just replicates what would happen if the employer required certifications.4

               3.      Sexist gender roles are a motivating factor behind the leave policy.

       As Plaintiffs have explained, the record establishes that archaic gender roles were, at a

minimum, a motivating factor behind Jones Day’s leave policy. PMSJ 12-16.

       a.      Until 1994, Jones Day gave mothers 24 weeks of leave and fathers none, an

egregiously discriminatory policy that had been plainly illegal since 1964. The firm has no answer.

       b.      The firm began to give fathers some leave in 1994 only because HR Director

Dressing decided that the new FMLA required it to do so, not because the Jones Day’s

longstanding preference for imposing sexist gender roles had changed. The firm has no answer.

       c.      When Dressing decided what portion of mothers’ leave would be deemed

“disability” leave, she picked a figure much higher than doctors certify for the most common type

of birth. Jones Day concedes that she picked the “top” of the range and that this resulted in a

concomitantly short period for fathers (Opp. 4-5), thereby preserving the pre-1994 policy’s

disparate treatment to the maximum extent possible under Dressing’s view of the FMLA. The

firm responds that the question is whether it acted because of that effect or in spite of it. But it

admits that the point was “[t]o decide how much paid leave Jones Day would offer new fathers”—

an adverse action based explicitly on sex. Dressing Decl. ¶¶ 10, 12; PSF ¶ 33. And, contra Jones



 4
   Jones Day says that doctors “certify ‘six-to-eight’ weeks” when the certification is made before
the mode of delivery is known (Opp. 4), but it omits that this simply means “six if the birth is
vaginal, and eight if it is a C-section.” PSF ¶¶ 153-55. Again, Jones Day’s own hired expert
admitted “I have never said that I—that vaginal delivery needs more than six weeks.” PSF ¶ 151.


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Day, Dressing did not say that she did not intend to minimize fathers’ leave. She said, irrelevantly,

that the change was not intended to increase mothers’ leave. Dressing Decl. ¶ 12. That just

confirms that the only point was to set fathers’ leave, which Dressing’s assumption minimized.

       Even if Dressing’s recommendation was not motivated even in part by its effect

(minimizing fathers’ leave), that does not suggest that the firm’s adoption of the change was not.

Decisionmaker McCartan made the change based on Dressing’s memo recommending it (PSF

¶¶ 15-16), but Jones Day has withheld it as privileged. The firm’s assertion about why it (i.e.,

McCartan) acted necessarily put the memo at issue—it is a party’s claim that it took the challenged

action because it was recommended in privileged advice. Dkt. 189 at 16-17; JDSF ¶¶ 36-54.5

Aside from (perhaps) the memo, no evidence shows that McCartan shared Dressing’s purported

rationales or was even aware of them. Yet Jones Day insists that her rationales are still “probative”

of his intent. That is senseless—he cannot have acted based on rationales he was unaware of.6

       d.      In 2015, the firm again adopted a blatantly illegal policy, openly giving mothers far

more self-designated “caretaker” leave than fathers, and partially backed down only when an

associate happened to complain that the policy was illegal. Jones Day responds that “compliance


 5
    E.g., In re Kellogg Brown & Root, Inc., 796 F.3d 137, 145-48 (D.C. Cir. 2015). Jones Day says
Plaintiffs forfeited the point by not raising it during discovery, but an at-issue waiver does not
occur until the party makes the argument that puts the advice at issue—as Jones Day did for the
first time in its summary judgment motion. Id. at 146.
 6
   Richardson v. Newburgh Enlarged City School District, 984 F. Supp. 735 (S.D.N.Y. 1997),
does not hold that the non-discriminatory rationale of the person who recommends an adverse
action is imputed to the decisionmaker. Jones Day’s quoted language refers to the District
“recommending” termination because the plaintiff was not actually terminated but resigned in
response to that recommendation (which was thus the adverse action). “The District” was the
decisionmaker. Id. at 738 (“the ‘District’[] forced her to resign”).
  Jones Day also says that lack of direct evidence of McCartan’s motives hurts Plaintiffs because
they bear the ultimate burden. Opp. 5. But Plaintiffs’ point is that Jones Day’s assertions about
its (i.e., McCartan’s) motives have no factual basis. Plaintiffs have presented overwhelming
evidence that sexism was (at least) a motivating factor. See PMSJ 12-16.


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with the law” is not “evidence from which a jury could infer intent to violate the law.” Opp. 6.

But Plaintiffs’ point is that Jones Day’s decision to blatantly discriminate in 2015 shows intent to

discriminate. Its shift to a less blatantly discriminatory policy does not negate that intent,

especially since it occurred only because a third party complained.

       e.      The explicit rationale behind the current policy giving mothers and adoptive parents

18 weeks is that “primary caretakers” should get 18 weeks even if they never give birth or incur

any disability—with only birth fathers excluded from that primary caregiver benefit.

       Jones Day insists that the 2015 revisions shed no light on the intent behind the challenged

policy. Wrong. The revisions show why birth fathers receive far less leave than everyone else.

The underlying communications confirm what was obvious all along: Jones Day gives 18 weeks

of leave to mothers and adoptive parents because it intends to offer 18 weeks to all primary

caregivers without regard for disability, even those that never give birth and incur no disability at

all. Yet it limits fathers to 10 weeks because its view is that they are just secondary caregivers.

But for the firm’s sexist view that fathers are all secondary caregivers, they would receive the same

18 weeks that it gives to everyone it views as a true primary caregiver, regardless of disability.

       Jones Day says that longer leave for adoptive parents is reasonable because they “face other

burdens.” Opp. 6. But it concedes that this is irrelevant if “Jones Day did not act for that

permissible reason.” Id. And it did not. It set adoptive primary caregivers’ leave equal to birth

mothers’ leave because it believed that “parental reactions to and needs after adoption are not

dissimilar to those experienced by biological parents” and that adoptive primary caregivers should

therefore be treated like the primary caregiver in a couple with a biological child—i.e., the woman:

“The rationale for the 18 weeks of adoption to mirror the same time as births was based on the

primary caregivers [sic] role in bringing the child into the family. … [A]doption leave should be




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parallel to the maternity leave for the primary caregiver because the functions are the same.” PSF

¶¶ 60, 66 (emphases added). Jones Day notes that the partner who made that statement also wrote

that more leave for adoptive parents “is a particularly strong message to the LGBT community”

(Opp. 15), but at most that shows that he had two motivating factors: the view that birth mothers

are primary caregivers, that all primary caregivers should receive 18 weeks of leave regardless of

disability, and that birth fathers are just secondary; and desire to appeal to LGBT attorneys. But

only the former rationale was presented to decisionmaker Brogan—the partners deleted all

mention of LGBT adoption from the memo to him. Compare Sheketoff Ex. 16 at JD_00005134

with Chase Ex. 10. And though the firm later allowed birth fathers to be designated primary

caregivers and receive 10 weeks of leave (because an associate pointed out that it was breaking

the law), it still denies them the 18 weeks that it gives to all parents it views as actual primary

caregivers. That is textbook sex discrimination. This point alone compels judgment for Plaintiffs.7




 7
    Jones Day says Shumaker “testified that he understood—including from discussions with a
senior employee who had adopted at least two children—that ‘adoptions are difficult and unique,
and have special concerns.’” Opp. 6. Even if that were credited, the referenced “discussion”
admittedly occurred months after the 2015 change. PSF ¶ 68 (Plaintiffs’ reply); JDSF ¶¶ 146-48
(Plaintiffs’ responses). That was not Shumaker’s view when the policy was hashed out and
adopted—at that time, he “question[ed]” the treatment of adoptive parents in parallel with birth
mothers, since “[a]rguably, some chunk of time is included in the leave because the mother must
recuperate from the actual birth” which “doesn’t happen with adoption.” PSF ¶ 59. He then
advised Brogan that “parental reactions to and needs after adoption are not dissimilar to those
experienced by biological parents.” PSF ¶ 66. Even if he later believed that they are dissimilar,
the fact remains that the firm decided in 2015 to give all primary caregivers 18 weeks of paid leave
regardless of whether they gave birth or incurred disability, extended that to adoptive primary
caregivers because it viewed them as having the “same” “functions” as birth mothers, and denied
it to birth fathers because it views them as secondary caregivers.


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II.     Jones Day committed illegal retaliation by firing Mark (Counts VII-IX, XI).

        A.     Opposition clause

        1.     Employer’s beliefs. Jones Day’s main argument under the opposition clause is

that an employer may fire a worker because of protected activity if the employer misinterprets it

or otherwise “reasonably and sincerely believe[s]” that it is unprotected. Opp. 15. That is wrong.

In that scenario, all three elements are present: The worker engaged in protected activity, and the

employer would not have taken adverse action but for that activity. Perhaps the employer’s

misperception was also a but-for cause, but that is no defense. Nor is there a fourth element

requiring that the employer correctly understand the protected activity, or act because it is

protected. The employer (not the worker) bears the risk of the employer’s mistake. PMSJ 32-33.

Jones Day ignores Plaintiffs’ authorities and has failed to find any support for its own position. It

even cites Egei v. Johnson, 192 F. Supp. 3d 81, 90-91 (D.D.C. 2016), which rejects its position.8

        2.     Protected challenge. The January email was protected because its statement that

the firm was engaged in an unlawful practice (the leave policy) was correct. Alternatively, it was

protected because Plaintiffs held a reasonable belief that the policy was unlawful. PMSJ 18-24.

        a.     Reasonableness. Jones Day continues to argue primarily that the settlement that

Plaintiffs sought in the January email was unprotected because Plaintiffs supposedly lacked a

reasonable belief that the law required Jones Day to give Mark the extra eight weeks of leave that

Plaintiffs demanded to settle the claim. See Opp. 13-14. Again, though, the “reasonable belief”


 8
   In Brady v. Office of Sergeant at Arms, the employer did not fire Brady for activity that it
erroneously perceived as unprotected; it was a race discrimination case, with no retaliation claim.
520 F.3d 490, 491-92 (D.C. Cir. 2008). Brady was fired for “grabbing his crotch in front of three
other employees,” and though he insisted that he had not, the D.C. Circuit’s point was that he had
no evidence that the employer did not believe he had—and that the firing thus was not because of
race. Id. at 495-96. Mason v. Geithner dealt with management’s understanding of a “management
directive,” not its misunderstanding of protected activity. 811 F. Supp. 2d 128, 205 (D.D.C. 2011).


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requirement applies to the “belief that the challenged practice” is unlawful. George v. Leavitt,

407 F.3d 405, 417 (D.C. Cir. 2005) (emphasis added). Here, the “practice” was the leave policy.

Conceding the distinction, Jones Day itself admits that that “many settlement demands will be

reasonable and proper even if they go beyond what the law requires.” Opp. 15.9

       Jones Day says that the email claimed that it “engaged in sex discrimination by not offering

fathers the same amount of paid leave it offers to mothers who have given birth.” Opp. 13. The

email does not say that; it says that the policy is unlawful and then, two paragraphs later, seeks a

settlement. Even if it did say that, the “challenged practice” would still be the policy. Jones Day

insists that email actually is not a settlement demand. Opp. 14. The argument is unserious. The

email states that Mark would sue unless given eight additional weeks of leave. Jones Day has

already conceded that “Plaintiffs’ … demand for … 18 weeks of leave … is separate and distinct

from their challenge to the leave policy (the employment practice).” Dkt. 104 at 12 (emphasis

added). And Shumaker understood the email as “a demand letter to Jones Day’s attorney.” Chase

Ex. 81 (Shumaker) at 105:22-106:3; see PSF ¶ 264 (Plaintiffs’ Reply); Chase Ex. 80 (Sheketoff)

at 294:1-15. No contrary evidence exists. Nor does it matter whether the “settlement demand”

label applies; the question is whether Plaintiffs reasonably believed that the policy is unlawful.


 9
   Jones Day offers just a paragraph on the relevant issue—whether Plaintiffs had “a reasonable,
good-faith basis to challenge the leave policy itself, wholly apart from [their] demanded relief.”
Opp. 16. It insists that when this Court held that its cases were not “unambiguously at odds with
Savignac’s belief that Jones Day’s leave policy was unlawful,” it was merely referring to a belief
that the policy was unlawful if adopted with the intent of giving mothers more leave, not the
argument that it is unlawful because it is not tied to actual disability and is excessively long. Id.
Context refutes that reading. 486 F. Supp. 3d at 32-40; Dkt. 18 at 7-32. And all three of Plaintiffs’
arguments are reasonable; Jones Day has yet to find a single case (much less a binding one) at
odds with any of them. See PMSJ 18-20 & n.8. Finally, Plaintiffs had ample basis to believe that
the firm intended to impose traditional gender roles through its admittedly excessive eight-week
rule. For one, the firm’s leadership had just tried giving mothers much more self-described family
leave than fathers, an obviously illegal move that could only have been driven by disregard for the
law and devotion to discriminatory gender roles. PSF ¶ 77; see also, e.g., PSF ¶¶ 92-97, 207.


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        b.     Good faith. Jones Day concedes, as it must, that “since at least January 2015,

[Plaintiffs] have subjectively believed … that it is unlawfully discriminatory to have a presumptive

period of disability leave for recovery from childbirth.” PSF ¶ 217. That is dispositive on good

faith, which (as the firm apparently agrees) simply asks whether the plaintiff “honestly believed”

that the employer violated the law. Opp. 27. Jones Day also does not dispute that (1) it is bound

by Judge Faruqui’s ruling, under which Plaintiffs were inarguably in good faith; or (2) an

objectively reasonable view on a question of law cannot be said to be in bad faith. PMSJ 20-24.

(It says that good faith is a subjective inquiry distinct from reasonableness, but Plaintiffs’

arguments take that for granted. Id. at 20.) Rather, it argues that the challenge was unreasonable

(or “illusory”) and that a jury could find on that basis that Plaintiffs were in bad faith. Opp. 27-

28. But if Plaintiffs’ view is objectively unreasonable, then they lose and good faith does not

matter. In short, Jones Day ends up in the same place as Plaintiffs: If Plaintiffs’ view was

objectively reasonable, then there is no basis to discredit their testimony that they hold that view.10

        3.     Jones Day admittedly fired Mark for challenging discrimination. Brogan

confessed at deposition that the January email’s assertion that the leave policy violates Title VII

was a but-for cause of his termination decision, as was the email’s statement that Julia experienced

pay discrimination. PMSJ 24-25. Jones Day responds with attorney argument that the confession

just “shows Brogan would have excused the improper manner of Savignac’s email if Savignac had

at least brought a real problem with the policy to Brogan’s attention” and does not refute “Brogan’s

testimony that the improper manner of raising the claim, not the claim itself, was the cause of the


 10
    Jones Day argues that Mark’s 2015 email to Julia does not show “that he honestly believed he
was entitled to the same extra eight weeks of paid leave that birth mothers receive.” Opp. 27. The
email says: “Presumably the 8-week disability leave is also illegal.” PSF ¶¶ 215-18. Anyway, the
relevant question is whether Plaintiffs honestly believed that Jones Day’s policy was illegal.
Mark’s 2015 email confirms that he did—and Jones Day admits it. Id. ¶ 217.


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termination decision.” Opp. 28. Jones Day apparently does not know what “but-for cause” means:

If Brogan would have “excused” the email’s supposed “manner” and not fired Mark but for his

reaction to the email’s assertion that the policy is unlawful, then that was, by definition, a but-for

cause. Even if that the “manner” of email was severable, unprotected, and also a but-for cause,

the charge of illegality was a but-for cause and so all three elements of the retaliation claim are

met. It is hard to imagine a clearer case of the retaliation that Congress sought to prohibit than a

boss who fires a worker because he disagrees with and is upset by a discrimination complaint.

        As for Brogan’s confession that the charge of discrimination against Julia was a but-for

cause, Jones Day says “the email was not even purporting to raise a pay discrimination complaint”

because the statement about Julia is part of the paragraph warning the firm not to retaliate through

its black-box system. Opp. 29. But the statement was plainly a complaint and “opposition” under

Crawford v. Metropolitan Government of Nashville, 555 U.S. 271, 276 (2009). PSF ¶ 237

(Plaintiffs’ reply). And it was reasonable and in good faith. PMSJ 57-59, 64; PSM 12-37.11

        4.     Settlement demand. Jones Day concedes that “many settlement demands will be

reasonable and proper even if they go beyond what the law requires.” Opp. 15 (citing PMSJ 25).


 11
    Jones Day acknowledges Brogan’s admission that he would retaliate against an associate who
sued Jones Day for discrimination by withholding support for promotion to partner. Opp. 28 n.7.
It responds that it “objected to those improper questions asking Brogan to speculate about
irrelevant hypotheticals.” Id. But Brogan’s confession that he would unlawfully block a worker
from promotion for protected participation in a civil rights lawsuit is inarguably relevant to
whether he fired Mark for the same reason the year before he would have come up for partner.
And “hypothetical” questions are not ipso facto improper—but-for causation is “hypothetical” by
definition, and the firm relies heavily on hypothetical testimony (e.g., Brogan would not have fired
Mark in August 2018 in the hypothetical world where that month’s emails were escalated to him;
Heifetz and Lovitt would have assessed Julia identically in the hypothetical world where
Partner A’s review was positive). A lay witness may offer opinion testimony if it is “rationally
based on the witness’s perception” and within his “personal knowledge.” Fed. R. Evid. 602, 701.
Brogan perceives his own thoughts and has personal knowledge of how he would feel if a Jones
Day associate filed a discrimination suit. Nothing in his unambiguous testimony suggests
otherwise, and Jones Day has no support for its implausible argument to the contrary.


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But it says that Plaintiffs’ demand for eight extra weeks of leave was improper as a settlement

demand and therefore a lawful basis to fire Mark. Id. Its whole argument for that proposition, for

which it offers no authority, is that “wherever the line is between reasonable and unreasonable

settlement demands, Savignac jumped well past it with his unlawful demand to receive the same

leave as birth mothers, in violation of the PDA.” Id. at 16. In other words, Jones Day does not

say that $80,000 (eight weeks of Mark’s pay, Opp. 19) was so disproportionate to what Plaintiffs

could hope to recover in litigation as to be a frivolous demand (such an argument would be

untenable, PMSJ 25-26 & n.11).12 Nor can it contend that the demand was improperly spiteful or

vindictive, as in its fanciful hypothetical about “beg[ging] forgiveness on hands and knees.”

Opp. 15. Its argument is simply that it would have violated the PDA for it to accept the demand.13

         The argument fails on many grounds. First, if it truly would be unlawful for an employer

to agree to a settlement, that is a basis to reject the settlement, but it is not a basis to fire the worker.

Second, settling a claim is not sex discrimination; even on Jones Day’s view that accepting the

settlement would amount to giving Mark more leave than it offers to other parents (of either sex),

it would be giving him that treatment because he asserted a legal claim, not because he is male.

Third, Jones Day’s argument is premised on its false notion that Plaintiffs demanded all of the

time off given to any new birth mother. Actually, they demanded “the treatment that Jones Day

gives to all women with new children [including adoptive mothers]—18 weeks of paid leave.”

PSF ¶ 212. That is not all the leave given to birth mothers, who undisputedly “can actually take

up to 26.” PMSJ 26. Plaintiffs have never disputed that Jones Day could give birth mothers as

much additional time as they are actually disabled—which would be the same “treatment” as Mark,


 12
      As explained above, Jones Day’s newly concocted reading of Schafer (Opp. 10, 13) is wrong.
 13
    The firm’s phrasing suggests that the “demand” was itself “unlawful,” but it cannot believe
that Plaintiffs were violating the PDA, which regulates employers, not workers.


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who was not disabled and not seeking true disability leave (which Jones Day apparently concedes

would “avoid that problem,” Opp. 14). Plaintiffs simply sought the same leave that Jones Day

gives to all mothers, including those who adopt, regardless of disability and regardless of whether

they give birth at all—a fact that Jones Day continues to ignore (Opp. 14). See PMSJ 26 (making

the identical point); Savignac, 486 F. Supp. 3d at 37 (“Savignac alleges that the policies

discriminate against him as a new father, who sought the same amount of paid leave provided to

all new mothers, regardless of whether they are actually disabled”). Fourth, gender-neutral leave

policies are increasingly common and do not violate the PDA. E.g., cov.com/en/diversity/work-

life-balance; JDSF ¶ 118 (Plaintiffs’ response). Jones Day provides zero contrary authority. Yet

even if those firms actually were violating the PDA, it would not have been unreasonable for

Plaintiffs to believe that gender-neutral policies are lawful. Jones Day, a major law firm with over

a hundred employment lawyers, is trying to hold civil rights plaintiffs to a standard that it cannot

itself meet. After all, it is undisputed that the firm’s leadership has twice imposed blatantly illegal

leave policies in violation of Title VII, retreating from the second one only after another associate

with no specialization in employment law pointed out the obvious illegality. PMSJ 12, 14-15.

       Finally, it does not matter if the settlement demand for eight extra weeks was unprotected,

for Brogan testified that the number of weeks demanded played no role in the termination decision

and that he was ignorant of the leave offerings. PMSJ 26; PSF ¶¶ 264-66. Nor is there any

evidence that he believed the demand violated the PDA, or even knows what the PDA is.

       5.      Manner. Jones Day’s brief confirms that it is not accusing Plaintiffs of actual

extortion or other unlawful acts. See PMSJ 27 n.12. It cannot dispute that the plaintiff in each of

its “manner” cases (1) had a job representing management in resolving discrimination complaints

and abandoned that role by advocating for other workers against management; and/or (2) severely




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disrupted the employer’s operations. PMSJ 29-30; Barnes v. Small, 840 F.2d 972, 980 (D.C. Cir.

1988) (“unfounded accusations … resulted in considerable disruption of agency work due to the

time and expense necessary to investigate the charges and also interfered with the personnel who

were the objects of the accusations”). Instead, it says that no case treats these factors as necessary

to render opposition unprotected. Wrong. E.g., EEOC v. Crown Zellerbach Corp., 720 F.2d 1008,

1014-15 & n.5 (9th Cir. 1983); Jennings v. Tinley Park, 796 F.2d 962, 968 & n.6 (7th Cir. 1986).

       Nor has the firm found a case saying that a written discrimination complaint sent to the

appropriate person could lose protection because of its “manner,” or finding a complaint like the

one here unprotected. It speculates that a written complaint could be unprotected if it includes

“profanity or threats of violence” (Opp. 20), but there is nothing of the sort here. It adds that the

test is whether the complaint’s manner was “unreasonable” (id.), but Plaintiffs’ point is that all of

the cases that give content to that standard turned on far more egregious facts. That includes many

cases holding much less restrained opposition to be protected—such as picketing, boycotts, public

protests, and complaints to the employer’s customers. PMSJ 35 n.17. And the Supreme Court

case that literally defines “opposition” for Title VII purposes (which Jones Day improperly seeks

to limit to its facts, Opp. 21) confirms that the core of what Congress intended to protect included,

by definition, “antagoni[stic],” “confront[ational],” and “hostile” behavior. PMSJ 28.

       6.      Other aspects of the email. When a worker opposes employment practices that

she reasonably believes to be unlawful, without improper manner, the opposition clause prohibits

retaliation “because” of that “oppos[ition].” 42 U.S.C. § 2000e-3(a). The January email was “a

single, unitary complaint of discrimination” (Borgo v. Goldin, 204 F.3d 251, 256 (D.C. Cir. 2000)),

all of which fits easily within Crawford’s definition of “opposition.” Since Jones Day concededly

fired Mark for the email, it violated the opposition clause. E.g., Crown Zellerbach, 720 F.2d at




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1012-14 (construing letter as a single instance of opposition). Even if the Court disagrees and

parses the email word-by-word, Jones Day’s three rationales all fail.

       a.      Challenge to leave policy. No jury could believe Brogan’s ridiculous testimony

that he fired Mark for asserting that Jones Day’s leave policy is unlawful without including

sufficiently detailed legal analysis in the email. See also PSF ¶ 213 (Plaintiffs’ Reply) (Brogan’s

credibility). Regardless, that omission was not a lawful ground to fire Mark. Jones Day concedes

that Title VII’s protection generally does not “depend on whether the complaining employee lays

out a detailed legal argument,” but spitballs that “law-firm associates” are subject to such a

requirement, citing only Pendleton v. Rumsfeld’s statement that the “requirements of the job” are

pertinent to “the limits of protected activity.” Opp. 23. Pendleton was just saying that a person

whose job is to represent management interests in dealing with workers’ discrimination grievances

violates those requirements by publicly siding with protesting workers against management. 628

F.2d 102, 108 (D.C. 1980) (“the problem before us for resolution really has the duties of an EEO

Counselor as its most significant element”); see PMSJ 29 & nn.14-15. No court has read it to call

for a free-wheeling inquiry, in every opposition case, into whether the worker’s complaint would

have satisfied her job requirements if it had been prepared as part of her job. Title VII protects a

mime’s complaint made orally, a literary novelist’s complaint that uses trite clichés, and a TV

screenwriter’s complaint that fails to hold the reader’s attention. There is no basis in text, purpose,

or case law for Jones Day’s argument to the contrary. Jennings, 796 F.2d at 968 & n.6.

       But even if Title VII protects “law-firm associates” only when their internal complaints

include the level of legal analysis that would be satisfactory in a comparable deliverable for a fee-

paying client, the January email would qualify. It is a pre-suit demand letter, which definitively

communicates to Jones Day that Plaintiffs were unpersuaded by its deficient citations and would




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commence litigation unless the parties reached a settlement. Drafting demand letters was never

part of Mark’s job as an appellate attorney, but, in any event, there is no requirement that a demand

letter give a detailed account of the sender’s legal arguments, especially in a simple discrimination

case. The email is not “shoddy and unprofessional advocacy on [Plaintiffs’] own behalf.” Opp. 24.

Nor is it conceivable that Brogan would fire an associate for sending a comparable demand, as part

of her job, to a recipient other than Jones Day. Finally, the argument that Brogan fired Mark

because the email’s complaint is “arrogant,” “pompous” and “egotistical” in accusing Jones Day

of breaking the law is just an admission that he fired Mark because the opposition upset him.14

        b.     Black-box pay system. Jones Day pokes fun at Plaintiffs’ understanding of the

term “tailor-made,” but it is undisputedly a recognized definition, and, in context, the one relevant

to the email. No one could interpret the email as Jones Day now (belatedly) pretends to, and the

firm does not even attempt to respond to most of Plaintiffs’ arguments on this point. PMSJ 32.

        Jones Day concedes that it “did not mention the ‘black-box compensation’ issue in its

interrogatory [7] response, press release, or litigation filings prior to Brogan’s deposition.”

Opp. 25 n.6. It argues that all those statements just gave non-exclusive examples of its reasons for

firing Mark. Id. But a defendant cannot wait until long after document discovery to make up new

reasons not disclosed in response to an interrogatory directing it to provide its reasons. And even

if a defendant could generally get away with such sandbagging, Jones Day ignores that it swore in

another interrogatory response in September 2021—served on this Court’s order and signed by



 14
    Jones Day cites Pendleton for its theory that whether the email was protected turns on Brogan’s
(supposed) subjective reaction to it. Opp. 24. But the language it quotes clearly describes an
objective test—what “a reasonable person in [the supervisor’s] position might … have felt” about
the conduct. 628 F.2d at 108; see also Burlington Northern & Santa Fe Railway Co. v. White, 548
U.S. 53, 68-69 (2006) (“emphasiz[ing] the need for objective standards in … Title VII contexts”
and that the term “reasonable” calls for an objective test). Talk about “shoddy advocacy.”


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Brogan and Shumaker on penalty of perjury—that “Jones Day’s reasons for terminating Savignac

are set forth in response to Interrogatory 7, in [the press release], and in Defendants’ pleadings

and other filings in this action. Beyond the reasons articulated in the sources described in the

prior sentence, Jones Day did not have other reasons.” PSF ¶ 288 (emphases added). Defendants

did not “articulate” the black-box claim until June 2022. They should be held to their sworn

response. Anyway, no jury could believe that they fired Mark for a reason not mentioned in the

first three years of litigation, when they gave countless reasons and swore that they had no others.

Nor could a jury find that the “black-box” statement was “knowingly false and malicious,” as

required even under Jones Day’s reading of its cited case (Opp. 20-21, 24-25). PSF ¶¶ 286-313.

       c.      Court of public opinion. Jones Day concedes that the email’s reference to the

“court of public opinion” referred to “the public’s forming an opinion of the case based on

litigation filings” (which have absolute protection from retaliation). Opp. 25. But it insists that

“[t]he phrase plainly also conveyed that Savignac would directly reach out to the press.” Id. That

makes no sense—given that the phrase undisputedly had the first meaning, why would it have a

second, distinct one (particularly given that the email says nothing about Plaintiffs taking any

action with “court of public opinion”)? Unlike Shakespeare, lawyers do not write so as to convey

double meanings. PMSJ 34-35. And the fact that Julia reached out to the Times in August 2019

says little about what Plaintiffs intended in January, and nothing about how Brogan interpreted the

email. Finally, even if Plaintiffs threatened to “go to the press” with their view that Jones Day’s

leave policy is discriminatory (Chase Ex. 77 (Brogan) at 25:10-16 (“You’re trying to say the

f[irm]—the firm is sexist. And you’re expressing an intent to go out into the world and to say

that”), such opposition is protected just like complaints to an employer—as shown by the many

authorities that Plaintiffs cited and to which Jones Day offers no response. PMSJ 35 & n.17.




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       B.      Participation clause. Jones Day has an internal complaint and investigation

process, Plaintiffs participated in it, and the firm contends that it merits legal protection based on

the process under Title VII. But it argues that the participation clause (1) does not apply to such

complaints and (2) confers no more protection than the opposition clause. Both points fail.

       1.      Internal complaints. The participation clause protects a worker who “has made a

charge … or participated in any manner in an investigation, proceeding, or hearing under” Title

VII. 42 U.S.C. § 2000e-3(a). Jones Day says “no court has accepted Plaintiffs’ theory that the

participation clause applies to internal complaints to employers in the absence of any pending

proceedings before courts or agencies, because only formal judicial or agency proceedings are

conducted ‘under’ th[e] statutes.” Opp. 17. But the D.C. Circuit applied that theory in McKenna

v. Weinberger, 729 F.2d 783 (D.C. Cir. 1984). Jones Day dismisses it as “inapposite” because

McKenna was a federal employee and “internal investigations by federal agencies, unlike by

private employers, are conducted ‘under’ regulations implementing the statutes and requiring

federal employees to exhaust such remedies.” Opp. 17. Federal workers must indeed exhaust

claims with their agency’s EEO counselor. Townsend v. Benjamin Enterprises, Inc., 679 F.3d 41,

49 (2d Cir. 2012). But that was not relevant in McKenna. McKenna did not go to the EEO officer

until learning that she was to be fired. 729 F.2d at 787. Her claim was that the termination was

retaliation for her internal complaint to a manager, and it was that internal complaint that the D.C.

Circuit held was “participation in an investigation” protected by the participation clause regardless

of manner. Id. at 790 n.54, 791. Nothing in the decision suggests that the ruling turned on the

public-sector context. Jones Day is trying to limit a binding precedent to its facts—“a clear error

of law.” MikLin Enterprises, Inc. v. NLRB, 861 F.3d 812, 825 n.5 (8th Cir. 2017); see, e.g.,

Robinson v. Diamond Housing Corp., 463 F.2d 853, 862-63 (D.C. Cir. 1972).




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       Even without McKenna, Plaintiffs should prevail. Jones Day argues that only agency and

court proceedings are “under” Title VII, even though internal investigations concededly have

“legal effects” under Title VII. Opp. 17. It says Kucana v. Holder, 558 U.S. 233, 244 (2010),

defined “under” as “specified in[]” or “authorized ‘pursuant to[].’” But those were definitions

advanced by the parties. The Court held that “[t]he word ‘under’ is chameleon; it ‘has many

dictionary definitions and must draw its meaning from its context.’” Id. at 245 (quoting Ardestani

v. INS, 502 U.S. 129, 135 (1991)). Jones Day ignores Ardestani, but, as Plaintiffs explained, it

holds that “under” means “subject to.” PMSJ 40-41. Internal investigations are “subject to” Title

VII, which determines whether a given investigation complies with Title VII’s requirements so as

to have the “legal effect” that Jones Day itself claims for its procedure in this case. PMSJ 37-47.

Other definitions of “under” exist, but Jones Day offers no justification for a narrower one. Nor

is its reading consistent with the view of every appellate court to address the question that internal

participation is covered if an EEOC charge has been filed. PMSJ 43.

       2.      Absolute immunity. Jones Day argues that the participation clause does not confer

absolute immunity, contra McKenna, Parker v. Baltimore & Ohio Railroad Co., 652 F.2d 1012

(D.C. Cir. 1981), Egei, the EEOC, and the cases at PMSJ 36 n.18. Opp. 22-23. It relies on Barnes,

where the D.C. Circuit said that a federal employee’s letters to a supervisor accusing coworkers of

committing criminal misconduct during internal proceedings fell under the participation clause’s

“very broad” protection for participating “in any manner.” 840 F.2d at 974-76. Barnes went on

to find that the letters were nonetheless unprotected because their accusations were “knowingly

false and malicious,” violating an Army Regulation. Id. at 975-78. As support, Barnes cited

language from two opposition cases, Parker and Pendleton. Id. at 977. Jones Day says that Barnes

silently overruled McKenna’s clear statement that the Hochstadt-Pendleton “improper manner”




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rule does not apply to participation. But nothing in Barnes suggests that the court considered the

distinction between opposition and participation. Nor did the parties urge that distinction; the

plaintiff did not contend that he could win if the letters were false and malicious. Sheketoff Ex. 183

at 25-26. Barnes could not overrule McKenna and did not purport to. FedEx v. NLRB, 849 F.3d

1123, 1127 n.3 (D.C. Cir. 2017); Garner, The Law of Judicial Precedent § 6, p. 85 (“An opinion

is precedential only for points of law argued by the litigants and adjudicated by the court”).15

        Even under Jones Day’s view of Barnes, it at most means “participation” may be

unprotected if it takes the form of malicious falsehoods, not that it is subject to the “reasonable,

good-faith belief” requirement of the opposition clause. See Opp. 22-23 (“improper behavior that

exists independent of whether the underlying discrimination claim is right or wrong”). After all,

Parker, which adopted the “reasonable belief” rule for opposition, makes clear that participation

is not subject to it. 652 F.2d at 1019. Regardless of whether Plaintiffs’ opposition to Jones Day’s

discriminatory leave policy and its pay discrimination against Julia enabled by its black-box policy

meets the reasonable belief requirement as a matter of law, there plainly was no “improper

manner.” See § II.A.5, supra.16


 15
    As Jones Day notes, McKenna says that participation has absolute immunity and is not subject
to a Hochstadt “improper manner” analysis “when it is not accompanied by activities adverse to
the employer.” 729 F.2d at 790 n.54. That qualification means that participation is immune unless
the worker engages in other activities. Here, it is undisputed that Mark was terminated solely for
the January email, not any “accompan[ying] … activities adverse to the employer.” Jones Day’s
reading of McKenna as holding, tautologically, that participation is not subject to an “improper
manner” analysis unless it is conducted in an improper manner is untenable.
 16
    Distinguishing Egei from Barnes, Jones Day says that Plaintiffs’ statement about the black-
box system “did not concern the truth of the underlying discrimination claims.” Opp. 21. Wrong.
The passage asserts that Julia’s pay was affected because of her sex and that this resulted from the
black-box system’s enablement of sex discrimination. That is like the assertions of discrimination
held protected in Egei, not like the accusations held unprotected in Barnes, which (as Jones Day
says, see Opp. 20-21) were, at best, tenuously related to the truth of any discrimination claim.
 Finally, Vaughn v. Epworth Villa actually held that “given the plain language of the participation



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        C.     The FLSA. Ten courts of appeals have held that the FLSA’s protection for “any

complaint … under or related to” that statute applies to internal complaints. Jones Day says they

are wrong under Justice Scalia’s dissent in Kasten v. Saint-Gobain Performance Plastics Corp.,

563 U.S. 1 (2011). But his point was that the Court there effectively held that the FLSA does

protect internal complaints. See id. at 25-26. The Second Circuit agreed, relying on Kasten to

overrule its precedent and hold that internal complaints are protected. Greathouse v. JHS Security

Inc., 784 F.3d 105, 110 n.8, 111-17 (2d Cir. 2015). The firm’s other case is a pre-Kasten district

court ruling. Greathouse and Kasten confirm Plaintiffs’ point about reading retaliation clauses: If

the text “admits of more than one reading,” the right one is the one that aligns with “statutory

purpose” and agency guidance. 784 F.3d at 111-15.17

        Casting off its fig leaf of textualism, Jones Day asks the Court to “moderate” the FLSA’s

protection for internal complaints with an “atextual[],” “policy-based” incorporation of “the

objective-reasonableness requirement established in Title VII opposition-clause case law.”

Opp. 18. There is no textual basis for that. And only one court of appeals appears to have adopted

it—without explaining why or pretending that it accords with the FLSA’s text or purpose. Id.

Providing less protection for internal complaints than agency or court complaints under the


clause, we must conclude that Vaughn engaged in a ‘protected activity’ when she submitted the
unredacted medical records to the EEOC.” 537 F.3d 1147, 1152 (10th Cir. 2008).
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     See also PMSJ 45-47; Kasten, 563 U.S. at 7-13 (holding, 6-2, that “filed any complaint”
protects oral complaints); Robinson v. Shell Oil Co., 519 U.S. 337, 340-46 (1997) (holding, 9-0,
that “employees or applicants” includes ex-employees); Parker, 652 F.2d at 1019 (opposition to
“practice made an unlawful employment practice” includes opposition to lawful practice that
plaintiff reasonably believed was unlawful); Greathouse, 784 F.3d at 111-15 (“filed any
complaint” covers internal complaints). Jones Day points to Encino Motorcars, LLC v. Navarro’s
rejection of “the principle that exemptions to the FLSA should be construed narrowly.” 138 S. Ct.
1134, 1142 (2018). That principle is not at issue here, and Plaintiffs do not contend that the FLSA
“pursues its remedial purpose at all costs,” just that purpose and agency interpretations are relevant
in interpreting retaliation provisions where the text admits of more than one reading. Justice
Thomas’s 5-4 opinion in Encino did not secretly overrule his unanimous one in Robinson.


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FLSA’s unitary protection for “any complaint … under or related to” the FLSA would violate the

fundamental rule that “statutes are not chameleons, acquiring different meanings when presented

in different contexts.” Maryland v. EPA, 958 F.3d 1185, 1202 (D.C. Cir. 2020). Nor is there any

reason to give a formal internal complaint less protection than one directed to the agency.

Congress’s goal of promoting “voluntary internal attempts to remedy discrimination … would be

ill served by telling employees that they can be sure of protection only if they limit their complaints

about discrimination to formal [agency] filings, and that internal opposition, though encouraged,

is undertaken at the accuser’s peril.” Parker, 652 F.2d at 1019.18

         D.     The D.C. Human Rights Act. It is undisputed that the DCHRA goes “above and

beyond” Title VII and must be “read … liberally” and “generously construed” in keeping with its

“sweeping statement of intent.” Estenos v. PAHO/WHO Federal Credit Union, 952 A.2d 878, 887

(D.C. 2008). Accordingly, even if the Court determines that Title VII is subject to some of the

limitations that Jones Day advocates, it should not graft those limitations onto D.C. law, including

for the reasons given in Plaintiffs’ Title VII arguments and by this Court in Egei. See PMSJ 50.

III.     Julia is a proper retaliation plaintiff (Counts VII-IX).

         Jones Day does not dispute that Julia is a proper plaintiff to challenge its leave policy. Yet

it says she has no recourse for its firing of her husband in retaliation for that challenge—even

though it is undisputed that she wrote the January email with her husband, was a Jones Day

employee, and initiated Plaintiffs’ opposition to Jones Day’s leave offerings. PSF ¶¶ 207, 213;




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    By contrast, the lesser protection of Title VII’s opposition clause is consistent with the clause’s
text, its far broader coverage of activities that are outside the scope of the FLSA provision
(picketing, complaints to coworkers or customers, etc.), and the fact that Title VII’s participation
clause provides absolute immunity for participation in the employer’s complaint process.


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JDSF ¶ 15. That is wrong. She is plainly aggrieved. PMSJ 52-53. The firm’s sole response is to

ask the Court to limit binding precedents to their facts; it offers nothing for its own view.19

                                          CONCLUSION

        The Court should grant partial summary judgment for Plaintiffs.




 19
    Jones Day purports to incorporate a footnote to its pleading-stage reply, saying one case cited
there (it does not say which) had comparable facts. This is insufficient to preserve the argument.
  Plaintiffs showed that Jones Day’s treatment of Julia satisfies all three elements of retaliation.
PMSJ 51; PSF ¶ 213. Jones Day disputes only causation, pointing out that the law prohibits
“discriminat[ing] against” an employee “because he has opposed” perceived discrimination. JD
Opp. 30. It argues that “Brogan would have fired [Mark] if he sent the email by himself,” so
Julia’s “co-sending” cannot have been a but-for cause. Id. It might as well argue that she has no
claim because the text only protects men (“he”)—for just as “words importing the masculine
gender include the feminine,” “words importing the singular include and apply to several persons.”
1 U.S.C. § 1. The law thus prohibits retaliating against employees because they opposed
discrimination jointly. Plaintiffs jointly opposed discrimination through the email, and the email
caused the firing. Jones Day ignores the possibility of joint opposition and suggests, absurdly, that
no one has protection for joint opposition, because the retaliation would still have happened if any
given worker did not join in. The law does not require that the employer know the identities of all
participants in joint opposition—it requires only that the workers engage in opposition and that the
employer take an adverse action because of the opposition. Savignac, 486 F. Supp. 3d at 38 (“the
plaintiff must show that ‘(1) she engaged in activity protected by Title VII; (2) the employer took
an adverse employment action against her; and (3) the adverse action was causally related to the
exercise of her rights.’” (emphasis added)). Jones Day faults Plaintiffs for making their point with
a hypothetical, but it cites no cases supporting its view and does not dispute Plaintiffs’
hypothetical, which rested on case law showing that the employer’s knowledge of the identity of
the individual(s) behind the protected activity is not an element. PMSJ 52. Jones Day adds, for
the first time, that the email has the signature block automatically included with emails from
Mark’s firm account. That adds nothing to the point that the email was sent from Mark’s firm
email address. Anyway, Brogan’s claim that he read an email phrased largely in the plural and
continuing opposition initiated by Julia to come from Mark alone because he thought that Mark
was using the “royal we” is incredible. See also PSF ¶ 213 (Plaintiffs’ reply); JDSF ¶ 361
(Plaintiffs’ response). The firm cannot refute that by pointing to parts of the email, like the
signature block, that Brogan did not point to.


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